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(Rev. 3188|
Case 2:05-cr-20084-BUEITEBL3'FMES])EHTRIBL@'QQ}RF[HQ€ 1 of 5 Page|D£O

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WESTERN DISTRICT OF TENNESSEE :Z::~’;z §§
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U. S. A. vs. MARK TAYLOR Docket No. 2: ‘USCS 4-01 -

;AM_EM

Petition on Probation and Supervised Release

 

COMES NOW Willie S. Williams Jr. , PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Mark Taylor , who was placed on supervision by the
Honorable Avem Cohn sitting in the Court at Detroit, Michig@, on the __25_tl_1 day of Ap_rg, 192_§ who fixed the
period of supervision at Hve (5) years* , and imposed the general terms and conditions theretofore adopted
by the Court and also imposed special conditions and terms as follows:

* Effective date of Supervision: Oetober 24, 2000.
Transfer of J urisdiction was accepted in this district (WD/TN/Memphis) effective February 25,
2005, by United States District Jlldge Bemice B. Dooald.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(sEE ATTACHED)

PRAYING THAT THE COURT WILL ORDER that the petition submitted on April 25, 2005, be
AMENDED to include the additional charge contained in this petition

BOND:

 

ORDER OF COURT I declare under the penalty of perjury
that the foregoing is true and correct.

 

Co idered and ordered this/_Q~_ day
of §§ §§ c , 20§_)_, and ordered filed
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Be 'ce B. donald ‘

 

United States District Judge Place: Me his TN
This document entered on the docket sheet in eompl|anoe fri/L?]
with ama as and/or 32{b) Fnch on 8’{7'05 Q/”

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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENI)ANT VIOLATED THE FOLLOWING CONDITION OF SUPERVISED RELEASE:
The defendant shail not commit another Federal, state, or local crime.

On January 25, 2005, Mr. Taylor was arrested by the Shelby County Sherii`fs Department on a warrant
charging Vehicular Homicide. According to the Alfdavit of Complaint, on January 20, 2005, Mr. Taylor was
being chased by another vehicle driven by Ronnie Fox. Mr. Taylor’s vehicle entered an intersection,
disregarded a stop sign, and subsequently struck a third vehicle carrying a two year old child. The child was
transported to LeBonheur I-Iospital for treatment of injuries suH`ered in the accident. On January 21 , 2005, the
child died as a result of the injuries The Medica.l Examiner’s Oiiice ruled the death a homicide Ronnie Fox
turned himself in to police oli;icers, admitting that he had been chasing Mark Taylor. Mr. Fox stated that the
chase began after an altercation between he and Mr. Taylor. On May 26, 2005, Mr. Taylor was indicted on
the charge of Vehicular Homicide by the Grand Jury for Shelby County, Tennessee. Bond was set at
$75,000.00.

On June 14, 2005, Mr. Taylor was named in a one (l) count Federa.l indictment in the Western District of
Tennessee. He was charged with Conspiracy to Possess With Intent to Distribute and Distributing in Excess
of 5 Kilograms of Cocaine between about 2001 through at least or about September 30, 2003. According to
information set forth in the hidictment, Mr. Taylor, along with Lermedeyo Malone, and other persons both
known and unknown to the Grand Jury, conspired to possess with the intent to distribute and to distribute
Cocaine in the Westem District ofTennessee and elsewhere Mr. Taylor was ordered detained pending trial.
His case has been assigned to Judge J. Daniel Breen (2:05CR20221-01).

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Case 2.05 cr 20084 BBD Docuwoegtlééwgql|<es%g g g

1 Defendant Mark Tay|or (Address: 5400 Park Avenue, No. 326, Memphis, TN 38119)
2 Docket Number (Year-Sequence-Defendant No.) 2:05CR20084-01
3. Districthfflce Westem District of Tennessee (Memphis)
4

OrlglnalSentenco Date 04 l_2§_ l 1995
month day year

(lf different than above).'
5. Original Districtloffrce Eastorn District ct Michi§an (Detroit)

6. original Docket Number (Year-Seq uenoe-Defendant No.) CR 93-80335

7. List each violation and determine the applicable grade w §781.1}:

 

 

 

 

 

 

 

Violatile Grade
0 New criminal conduct of Vehicular Homicide
0 New criminal conduct of Conspiracy to Possess With the |ntent to Distribute and to Distribute in Exoess of 5 A
Kilograms of Cocaine.
0
l
l
0
8. Most Serlous Grade of Vlolatlon (s_eg_ §7B1.‘l(b)} A
9. Crimina| Hlstory Category (§_eg §7B1.4(a))74 l
10. Ran¢e of Imprlsonment w §7B1.4(a)) 24 - 30 months

 

 

 

18 USC §3583(e) authorizes a maximum sentence of 60 months
11. Sentencing Optlons for Grade B and C Vio|atlons Only (Check the appropriate box):
{ } (a)|i the minimum term of imprisonment determined under §781 .4 (Term of lmprisonment) is at least one month but not more
than six months, §781.3{0)(1) provides sentencing options to imprisonment

{ } (b)|i the minimum term of imprisonment determined under §7B1.4 (Ter'm of |mprisonment) is more than six months but not
more than ten months, §7B1.3(c)(2) provides sentencing options to imprisonment

{X} (c)|f the minimum term of imprisonment determined under §7B1.4 (Term of |mpn'sonment) is more than ten months. no
sentencing options to imprisonment are available

Mail documents to: United Stetea Sentencing Commission, 1331 Pennsyl\rania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Atl:ention: Monltoring Unit

12.

13.

14.

15.

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Defendant Mark Taylor

Unsatisl'ied Conditions of Orlg|nal Sentenoe

List any restitution, line, community confinement home detention, or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation § §7B1.3(d)}:

 

 

 

 

 

 

Restitution ($) NIA Community Continement NIA

Fine ($) N/A Home Detention NIA
Other NIA lntermittent Continement NIA
Suporvlsed Releaso

lf probation is to be revoked. determine the length, if any, of the term of supervised release according to the provisions of §§501.1-
1.3{see §§781.3(9)(1)}.

Term: N/A to NIA years
li supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment imposable upon
revocation the defendant may, to the extent permitted by |avrrl be ordered to recommence supervised release upon release from
imprisonment {B 18 U.S.C. §3583(9) and §7B1.3(g)(2)}.
Period of supervised release to be served following release from imprisonment
Departuro

List aggravating and mitigating factors that may warrant a sentence outside the applicabie range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

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Mail documents to: United States Sentenolng Commission, 1331 Pennsylvanla Avenue. l|.W.
Suite 1400, Waehington, D.C., 20004, Attention: Monltoring l|nit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20084 was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Thomas A. Colthurst

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Jeffrey J ones
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Honorable Bernice Donald
US DISTRICT COURT

